       Case 1:93-cr-05230-OWW Document 742 Filed 03/10/06 Page 1 of 2


                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Oliver W. Wanger
United States District Judge
Fresno, California


                            RE:    Alfredo RODRIGUEZ
                                   Docket Number: 1:93CR5230-12-REC
                                   PERMISSION TO TRAVEL OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Baviacora Sonora, Mexico. He is current
with all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 7, 1994, Mr. Rodriguez was sentenced
for the offense of 21 UC 846 & 841(a)(1) - Conspiracy to Distribute Cocaine.


Sentence imposed: 120 mos. BOP; 60 mos. TSR; $50 special assessment; special
conditions: search; drug aftercare.


Dates and Mode of Travel: April 7, 2006 to April 18, 2006. Traveling via 1999 Dodge
Truck, license #5X67852.


Purpose: Visit father-in-law and deliver truck to his father-in-law.




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      Case 1:93-cr-05230-OWW Document 742 Filed 03/10/06 Page 2 of 2


RE:   Alfredo RODRIGUEZ
      Docket Number: 1:93CR5230-12-REC
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                               Respectfully Submitted,

                                /s/ Thomas A. Burgess

                              THOMAS A. BURGESS
                       Senior United States Probation Officer

DATED:     March 6, 1006
           Bakersfield, California
           TAB:dk

                          /s/ Rick C. Louviere
REVIEWED BY:
                    RICK C. LOUVIERE
                    Supervising United States Probation Officer



ORDER OF THE COURT:

Approved   X                                     Disapproved


IT IS SO ORDERED.

Dated: March 8, 2006                         /s/ Oliver W. Wanger
emm0d6                                  UNITED STATES DISTRICT JUDGE




                                                                            R ev. 03/2005
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